Case 6:18-cr-00055-JDK-JDL Document 49 Filed 10/13/20 Page 1 of 4 PageID #: 145




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA                            §
                                                      §
                                                      §            CASE NO. 6:18-CR-55-JDK
  vs.                                                 §
                                                      §
                                                      §
  DURRELL LEE HOPKINS (1)                             §

                          REPORT AND RECOMMENDATION
                      ON REVOCATION OF SUPERVISED RELEASE

        On October 13, 2020, the Court held a final revocation hearing on a Petition for Warrant

or Summons for Offender under Supervision. The Government was represented by Assistant

United States Attorney Allen Hurst. Defendant was represented by Assistant Federal Defender

Ken Hawk.

                                            Background

        After pleading guilty to the offense of Possession of Unregistered Firearm, a Class C

felony, Defendant Durrell Lee Hopkins was sentenced on February 21, 2019 by United States

District Judge Thad Heartfield. The offense carried a statutory maximum imprisonment term of

10 years. The guideline imprisonment range, based on a total offense level of 17 and a criminal

history category of I, was 24 to 30 months.               Defendant was sentenced to 24 months of

imprisonment to be followed by a 1-year term of supervised release. Defendant’s supervision is

subject to the standard conditions of release, plus special conditions to include financial disclosures

and substance abuse testing and treatment.

        Defendant completed his term of imprisonment and started his term of supervised release

on May 29, 2020. The case was re-assigned to United States District Judge Jeremy D. Kernodle

on September 21, 2020.

                                                  1
Case 6:18-cr-00055-JDK-JDL Document 49 Filed 10/13/20 Page 2 of 4 PageID #: 146




                                                  Allegations

        In the Petition seeking to revoke Defendant’s supervised release, filed on September 17,

2020, United States Probation Officer Daisy Pridgen alleges that Defendant violated the following

condition of supervised release:

           1. Allegation 1 (mandatory condition 3): You must refrain from any unlawful use
              of a controlled substance. you must submit to one drug test within 15 days of
              release from imprisonment and at least two periodic drug tests thereafter, as
              determined by the court. It is alleged that Defendant submitted urine specimens on
              May 29, 2020, June 30, 2020, July 30, 2020, and August 28, 2020 that tested positive
              for marijuana.


                                                Applicable Law

        According to 18 U.S.C. § 3583(e)(3), the Court may revoke the term of supervised release

and require a Defendant to serve in prison all or part of the term of supervised release without

credit for the time previously served under supervision, if it finds by a preponderance of the

evidence that Defendant violated a term of supervised release. Supervised release shall be revoked

upon a finding of a Grade A or B supervised release violation. U.S.S.G. § 7B1.3(a)(1). In the

present case, Defendant’s original offense of conviction was a Class C felony. Accordingly, the

maximum imprisonment sentence that may be imposed is 2 years of imprisonment. 18 U.S.C. §

3583(e).

        Under the Sentencing Guidelines, which are non-binding, 1 if the Court finds by a

preponderance of the evidence that Defendant violated his conditions of supervised release as

alleged in the petition, he is guilty of a Grade C violation. U.S.S.G. § 7B1.1(a). Defendant’s



1
 The United States Sentencing Guidelines as applied to revocations of supervised release “have always been non-
binding, advisory guides to district courts in supervised release revocation proceedings.” United States v. Brown,
122 Fed.Appx. 648, 2005 WL 518704, slip op. p.1 (citing United States v. Davis, 53 F.3d 638, 642 (5th Cir. 1995));
see also United States v. Mathena, 23 F.3d 87 (5th Cir. 1994) (policy statements contained in Chapter 7 of the
Sentencing Guidelines applicable to sentencing a defendant upon revocation of supervised release are advisory
only.).

                                                         2
Case 6:18-cr-00055-JDK-JDL Document 49 Filed 10/13/20 Page 3 of 4 PageID #: 147




original criminal history category was I. The guidelines provide that Defendant’s guideline range

for a Grade C violation is 3 to 9 months of imprisonment.

                                              Hearing

       On October 13, 2020, Defendant appeared for a final revocation hearing. Assistant United

States Attorney Allen Hurst announced that Defendant and the Government reached an agreement

for Defendant to enter a plea of true to Allegation 1 of the petition and to jointly request a sentence

of 4 months of imprisonment with no further supervised release. After the Court explained to

Defendant his right to a revocation hearing, he waived his right to a revocation hearing and entered

a plea of “true” to Allegation 1 of the petition. Defendant requested a recommendation for

designation at FCI Texarkana.

                                     Findings and Conclusions

       I find that Defendant is competent and that his plea and waiver of the revocation hearing

was knowingly and voluntarily made. I accept Defendant’s plea and find by a preponderance of

the evidence that Allegation 1 of the petition is true. Defendant is guilty of a Grade C supervised

release violation. I further find and conclude that Defendant’s term of supervised release should

be revoked and that he should be sentenced to 4 months of imprisonment with no further supervised

release. Any criminal history monetary penalties previously ordered in the final judgment should

be imposed in this revocation, with all payments collected credited towards outstanding balances.

                                      RECOMMENDATION

       In light of the foregoing, it is recommended that Defendant’s plea of true to Allegation 1

of the petition be ACCEPTED and that Defendant’s term of supervised release be REVOKED.

It is further recommended that Defendant be sentenced to 4 months of imprisonment with no

further supervised release. Any criminal monetary penalties previously ordered in the final



                                                  3
Case 6:18-cr-00055-JDK-JDL Document 49 Filed 10/13/20 Page 4 of 4 PageID #: 148




judgment should be imposed in this revocation, with all payments collected credited towards

outstanding balances.

       Before the conclusion of the hearing, the undersigned announced the foregoing

recommendation and notified Defendant of his right to object to this Report and Recommendation

and to be present and allocute before being sentenced by the Court. Defendant waived those rights

and executed a written waiver in open court. The Government also waived its right to object to

the Report and Recommendation. It is therefore recommended that the Court revoke Defendant’s

supervised release and enter a Judgment and Commitment for him to be sentenced to 4 months of

imprisonment with no further supervised release.


           So ORDERED and SIGNED this 13th day of October, 2020.




                                               4
